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                                                                                      United States District Court
                                                                                          Southern District of Texas

                                                                                             ENTERED
                             UNITED STATES DISTRICT COURT                                   March 01, 2018
                              SOUTHERN DISTRICT OF TEXAS                                  David J. Bradley, Clerk
                                  HOUSTON DIVISION

BENEDICT EMESOWUM,                                §
                                                  §
         Plaintiff,                               §
VS.                                               §    CIVIL ACTION NO. 4:15-CV-2822
                                                  §
CITY OF HOUSTON, et al,                           §
                                                  §
         Defendants.                              §

                                        MEMORANDUM

                                                 I.

       Pursuant to remand from the Fifth Circuit Court of Appeals, the Court enters this

“supplemental order” setting forth the factual scenario relevant to the defendants; Officer Cruz

and To’s, motion for summary judgment.

       The resolution of the defendants’ motion for summary judgment rests in the application

of the defense of qualified immunity. Therefore, a court engages in a two-pronged inquiry:

whether the facts, taken in the light most favorable to a plaintiff, show that a defendant violated a

federal right that the plaintiff enjoyed. Tolan v. Cotton, 134 S. C. 1861, 1865 (2014).

                                                 II.

       In the case at bar, the plaintiff contends that: he was unlawfully detained, arrested

without probable cause, assaulted both verbally and physically, his wallet was forcibly taken

from his pockets along with his car keys; he was immediately placed in handcuffs and frisked

and was pushed and dragged to the officer’s vehicle where he was held while Officer Cruz

engaged in a background check to determine whether he had outstanding warrants. According to

the plaintiff, Officer Cruz engaged in this conduct even though he repeatedly told Officer Cruz




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that the vehicle belonged to him and he had the papers and keys to prove it. The defendants do

not dispute the plaintiff’s version of events which facts also include the following.

       a)      the plaintiff informed Officer Cruz, when Officer Cruz approached during the
               handcuffing and throughout the ordeal, that he owned the vehicle that he was
               attempting to repair it;

       b)      Officer Cruz moved from a “pat down” frisk for weapons, after handcuffing the
               plaintiff, to performing a record search to determine whether the plaintiff had
               outstanding warrants;

       c)      Officer Cruz knew shortly after handcuffing the plaintiff that the plaintiff was not
               committing a burglary and that the vehicle belonged to him; and,

       d)      Officer Cruz refused to remove the handcuffs from the plaintiff, and return the
               plaintiff’s wallet and keys only after he concluded the record’s search for
               warrants.

                                                III.

       Viewing the facts in the light most favorable to the plaintiff, the Court concluded that the

defendants’ conduct violated the plaintiff’s Fourth Amendment right to be free from an

unreasonable search and seizure and Houston Police Department General Order No. 600-17.

       The second prong of the qualified immunity defense and analysis requires the Court to

determine whether the federal right asserted by the plaintiff was “clearly established” at the time

of the alleged violation. Id. at 1867 (citation omitted). The Court concluded that a citizen’s

rights against unreasonable searches and seizures is well established, and that Officers Cruz and

To were well trained by HPD in this regard.            In fact, the Department’s General Order

contemplates that an officer may initially overreact in a given situation and, therefore, instructs

officers accordingly. See [DE# 60-8, (No. 600.17-1 para. 2)].

       The Court concluded that Fourth Amendment guarantees were “clearly established” on

July 15, 2015, that Officers Cruz and To were familiar with and trained in the use of force and

that General Order No. 600-17 instructs the defendants to moderate a use of force when the



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situation dictates. Nevertheless, the defendants ignored their duty under the federal Constitution

and the HPD General Order. Hence, a disputed fact issue exists concerning the events that gave

rise to this litigation that cannot be resolved as a matter of law favorable to the defendants. Ibid.

(citing to Brosseau v. Haughen, 543 U.S. 194, 195, no. 2)(2004).

       It is Ordered that this Memorandum be, forthwith, forwarded to the Fifth Circuit Court of

Appeals pursuant to its directive.

       It is so ORDERED.

       SIGNED on this 1st day of March, 2018.


                                                  ___________________________________
                                                  Kenneth M. Hoyt
                                                  United States District Judge




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